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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                07/08/2024 09:30 AM
                                                                COURTROOM 4A, 4th Floor
HONORABLE JASON BURGESS
CASE NUMBER:                                                    FILING DATE:
3:24-bk-00496-BAJ                        11                        02/21/2024
Chapter 11
DEBTOR:                 Genie Investments NV Inc.


DEBTOR ATTY:           Adam Walker
TRUSTEE:               NA
HEARING:
1. Status Conference
                       -Notice of Filing of Examiner’s Report Filed by Ryan E Davis on behalf of Examiner Maria M Yip Doc 146
                       2. Motion to Reschedule Hearing On Schedule July 23, 2024 Filed by Creditor Kristin Stegent Doc 148

APPEARANCES::

WITNESSES:

EVIDENCE:

RULING:
1. Status Conference

 CONCLUDED. FEE APPS DUE 7/19/24.


-Notice of Filing of Examiner's Report Filed by Ryan E Davis on behalf of Examiner Maria M Yip Doc 146



2. Motion to Reschedule Hearing On Schedule July 23, 2024 Filed by Creditor Kristin Stegent Doc 148

 GRANTED ORDER CHAMBERS
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Failure
to submit proposed orders before this case/adversary proceeding is closed will result in motions/objections/applications being
denied as moot. This docket entry/document is not an official order of the Court.




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